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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE

LOCAL 8027, AFT-NEW HAMPSHIRE, AFL-CIO, RYAN                                 )
RICHMAN, JOHN DUBE and JOCEYLN MERRILL,                                      )
teachers in the New Hampshire Public Schools, and                            )
KIMBERLY GREEN ELLIOTT and MEGHAN EVELYN                                     )
DURDEN, parents or guardians of children in the New                          )
Hampshire public schools.                                                    )
               Plaintiffs,                                                   )
                          v.                                                 )
FRANK EDELBLUT, in his Official Capacity as                                  )
Commissioner of the DEPARTMENT OF EDUCATION                                  )
(“DOE”), CHRISTIAN KIM in his Official Capacity as the                       )
Chair of the NEW HAMPSHIRE COMMISSION ON                                     )
HUMAN RIGHTS, and JOHN FOMELLA in his Official                               )
Capacity as ATTORNEY GENERAL of the State of New                             )
Hampshire.                                                                   )
               Defendants.                                                   )
--------------------------------------------------------------------------   )   Civil No. 1:21-cv-01077-PB
ANDRES MEJIA,                                                                )
CHRISTINA KIM PHILIBOTTE, and                                                )
NATIONAL EDUCATION ASSOCIATION-NEW                                           )
HAMPSHIRE,                                                                   )
               Plaintiffs,                                                   )
                          v.                                                 )
FRANK EDELBLUT, in his official capacity only as the                         )
Commissioner of the New Hampshire Department of                              )
Education,                                                                   )
JOHN M. FORMELLA, in his official capacity only as the                       )
Attorney General of the State of New Hampshire,                              )
AHNI MALACHI, in her official capacity only as the                           )
Executive Director of the New Hampshire Commission for                       )
Human Rights,                                                                )
CHRISTIAN KIM, in his official capacity                                      )
only as the Chair of the New Hampshire Commission for                        )
Human Rights,                                                                )
KEN MERRIFIELD, in his official capacity only as the                         )
Commissioner of the Department of Labor,                                     )
               Defendants.                                                   )




            PLAINTIFFS’ ASSENTED-TO MOTION TO EXCEED PAGE LIMIT
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       Plaintiffs in the first above-captioned action (the “AFT Plaintiffs” or the “AFT action”)

and Plaintiffs in the second above-captioned action (the “Mejia Plaintiffs,” or “Mejia action”)

collectively move with the Defendants’ assent to exceed the 25-page limit in Local Rule

7.1(a)(3) in responding to Defendants’ Motion to Dismiss. See Doc. No. 36. Plaintiffs

collectively state as follows:

       1.      Plaintiffs collectively seek an extension to 45 pages to file their Joint

Memorandum of Law in Opposition to Defendants’ Motion to Dismiss Plaintiffs’ Vagueness

Claim (see Doc. No. 36-1, Argument Section III). Per the Court’s instructions, Plaintiffs are

filing a Joint Memorandum to streamline the arguments as to the vagueness claim in this case to

avoid repetition and for the sake of judicial economy.

       2.      Separately, the AFT Plaintiffs seek an extension to 32 pages to file their

Opposition to Defendants’ Motion to Dismiss Counts II-IV of the AFT Complaint (see Doc. No.

36-1, Argument Sections I and II).

       3.      Plaintiffs request that the Court allow them to file these two memoranda in excess

of the 25-page limit set forth in Local Rule 7.1(a)(3). Plaintiffs submit that good cause exists for

this relief given that—while the Plaintiffs have streamlined their Joint Memorandum on

Vagueness—these memoranda address two operative complaints and this case presents multiple

questions of constitutional law.

       4.      Plaintiffs have conferred with Defendants, who assent to the requested relief.

       5.      No memorandum supports this motion because all arguments are set forth herein.

LR 7.1(a)(2)




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WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

       A.        Permit the Plaintiffs leave to submit their Joint Memorandum of Law in

Opposition to Defendants’ Motion to Dismiss Plaintiffs’ Vagueness Claim in excess of the page

limit set forth in Local Rule 7.1(a)(3);

       B.        Permit the AFT Plaintiffs leave to submit their Opposition to Defendants’ Motion

to Dismiss Counts II-IV of the AFT Complaint in excess of the page limit set forth in Local Rule

7.1(a)(3); and

       C.        Grant such other relief as the Court deems just and equitable.




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Dated: May 20, 2022
                                                            Respectfully Submitted,



                                                                /s/ Peter J. Perroni
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